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AO-45R (Rev. 06/00). Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Southern District of New York

_ TIANHAL LACE USA, INC.,
Plaintiff
VL
_. LORD & TAYLOR.LLC, etal.
Defendant

Case No. 1:1 7-cv-04328

 

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APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record.
{am admitted or otherwise authorized to practice in this court, and [ appear in this case as counsel for:

_the Levy Group, Inc.

 

     

 

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